Case 3:16-md-02738-MAS-RLS   Document 32026   Filed 04/22/24   Page 1 of 20 PageID:
                                   181115



                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY

                                      )
  IN RE: JOHNSON & JOHNSON            )
  TALCUM POWDER PRODUCTS              )
  MARKETING, SALES PRACTICES AND )             MDL Docket No. 2738
  PRODUCTS LIABILITY LITIGATION       )
  ___________________________________ )
                                      )
  This Document Relates To All Cases  )
                                      )

      DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ STEERING
  COMMITTEE’S MOTION FOR RECONSIDERATION OF THE COURT’S
   MARCH 27, 2024 TEXT ORDER ALLOWING A FULL REFILING OF
                      DAUBERT MOTIONS
Case 3:16-md-02738-MAS-RLS                    Document 32026               Filed 04/22/24          Page 2 of 20 PageID:
                                                    181116



                                           TABLE OF CONTENTS

                                                                                                                      Page

  BACKGROUND .......................................................................................................1

  ARGUMENT .............................................................................................................5

  I.     THE PSC HAS NOT ESTABLISHED ANY CLEAR ERROR OF
          LAW OR FACT CAPABLE OF JUSTIFYING
          RECONSIDERATION. ...................................................................................6

           A.        The Recent Amendments To Rule 702 Support The Court’s
                     Decision................................................................................................7

           B.        New Scientific Evidence Independently Supports The Court’s
                     Decision..............................................................................................11

  II.    PROCEEDING WITH NEW DAUBERT BRIEFING WOULD NOT
          RESULT IN MANIFEST INJUSTICE. ........................................................13

  CONCLUSION ........................................................................................................14




                                                              i
Case 3:16-md-02738-MAS-RLS                 Document 32026             Filed 04/22/24        Page 3 of 20 PageID:
                                                 181117



                                      TABLE OF AUTHORITIES

                                                                                                          Page(s)

                                                     CASES

  In re Acetaminophen - ASD-ADHD Products Liability Litigation,
         MDL No. 3043, 2023 U.S. Dist. LEXIS 224899, --- F. Supp. 3d ----
         (S.D.N.Y. Dec. 18, 2023) ....................................................................9, 10, 14

  Bean-Sasser v. Secretary of Health & Human Services,
       127 Fed. Cl. 161 (2016) ................................................................................. 11

  Crowley v. Chait,
       322 F. Supp. 2d 530 (D.N.J. 2004) .................................................................. 8

  Cvjeticanin v. United States,
        No. 19-549 (MAS), 2022 U.S. Dist. LEXIS 157717
        (D.N.J. Aug. 30, 2022) .................................................................................... 7

  Defense Distributed v. Platkin,
       No. 21-9867 (MAS) (TJB), 2023 U.S. Dist. LEXIS 103651
       (D.N.J. June 14, 2023) ................................................................................. 5, 6

  In re Energy Future Holdings Corp.,
         904 F.3d 298 (3d Cir. 2018) .......................................................................... 13

  James v. Thompson/Center Arms, Inc.,
       No. 3:22-cv-01781-JGC, 2024 U.S. Dist. LEXIS 55675
       (N.D. Ohio Mar. 28, 2024) .............................................................................. 9

  Jannarone v. Sunpower Corp.,
       No. 18-9612 (MAS) (TJB), 2020 U.S. Dist. LEXIS 76380
       (D.N.J. Apr. 30, 2020) ................................................................................. 5, 6

  In re Johnson & Johnson Talcum Powder Products Marketing, Sales
         Practices & Products Litigation,
         509 F. Supp. 3d 116 (D.N.J. 2020) .........................................................passim




                                                          ii
Case 3:16-md-02738-MAS-RLS                 Document 32026             Filed 04/22/24        Page 4 of 20 PageID:
                                                 181118



  Max’s Seafood Café ex rel. Lou-Ann, Inc. v. Quinteros,
       176 F.3d 669 (3d Cir. 1999) ............................................................................ 5

  In re Onglyza (Saxagliptin) & Kombiglyze (Saxagliptin & Metformin)
         Products Liability Litigation,
         93 F.4th 339 (6th Cir. 2024) ........................................................................ 8, 9

  In re Paraquat Products Liability Litigation,
         MDL No. 3004, 2024 WL 1659687 (S.D. Ill. Apr. 17, 2024) ........................ 9

  Pick v. American Medical Systems, Inc.,
        958 F. Supp. 1151 (E.D. La. 1997) ................................................................. 8

  In re Processed Egg Products Antitrust Litigation,
         81 F. Supp. 3d 412 (E.D. Pa. 2015) ................................................................. 8

  Public Interest Research Group of New Jersey, Inc. v. Magnesium Elektron,
        Inc.,
        123 F.3d 111 (3d Cir. 1997) ............................................................................ 7

  Rimbert v. Eli Lilly & Co.,
       647 F.3d 1247 (10th Cir. 2011) ....................................................................... 6

  Sardis v. Overhead Door Corp.,
        10 F.4th 268 (4th Cir. 2021) ............................................................................ 9

  Shnewer v. United States,
       No. 13-3769 (RBK), 2016 U.S. Dist. LEXIS 109830
       (D.N.J. Aug. 18, 2016) .................................................................................. 13

  Trustees of B.A.C. Local 4 Pension Fund v. Demza Masonry, LLC,
        No. 18-17302 (MAS), 2021 U.S. Dist. LEXIS 148298
        (D.N.J. Aug. 6, 2021) .................................................................................... 13

  United States ex rel. Petratos v. Genentech Inc.,
        855 F.3d 481 (3d Cir. 2017) ............................................................................ 6

  In re Viagra Products Liability Litigation,
         658 F. Supp. 2d 936 (D. Minn. 2009) ........................................................... 11



                                                          iii
Case 3:16-md-02738-MAS-RLS                    Document 32026              Filed 04/22/24          Page 5 of 20 PageID:
                                                    181119



  In re Zantac (Ranitidine) Products Liability Litigation,
         644 F. Supp. 3d 1075 (S.D. Fla. 2022) ............................................................ 3

                                                        RULES

  Fed. R. Evid. 702(d) ................................................................................................... 3

  Fed. R. Evid. 702(d) ................................................................................................... 9

  Fed. R. Evid. 702 advisory committee’s note to 2023 amendment ....................... 8, 9

                                           OTHER AUTHORITIES

  Advisory Committee on Evidence Rules, Agenda for Committee Meeting
       (Apr. 30, 2021) ................................................................................................ 9

  Gossett & del Carmen, Use of powder in the genital area & Ovarian Cancer
       Risk, 323(1) JAMA 29 (2020) ....................................................................... 12

  O’Brien et al., Association of Powder Use in the Genital Area with Risk of
        Ovarian Cancer, 323(1) JAMA 49 (2020) ................................................2, 12

  Report of the Advisory Committee on Evidence Rules (May 15, 2022) .................. 3

  Wentzensen & O’Brien, Talc, body powder, and ovarian cancer: A summary
       of the epidemiologic evidence, 163(1) Gynecol. Oncol. 199 (2021)............. 12




                                                             iv
Case 3:16-md-02738-MAS-RLS       Document 32026       Filed 04/22/24   Page 6 of 20 PageID:
                                       181120



        The PSC seeks to freeze the question of general causation in time, arguing

  that a Daubert ruling issued in 2020 based on expert reports issued in 2018

  constitutes law of the case for this entire MDL proceeding. But the law, the science

  and the record have changed in material respects over the last four years, justifying

  a fresh look at the reliability of plaintiffs’ experts’ opinions. Rule 702 has been

  amended to clarify that fundamental reliability challenges like those at issue here are

  questions of admissibility, not weight. Moreover, new scientific data have emerged

  that undercut the reliability of plaintiffs’ experts’ opinions. This Court appropriately

  recognized that these circumstances “make a full refiling of Daubert motions

  appropriate” (ECF No. 30260), and the PSC’s disagreement with that well-reasoned

  decision is not a basis for reconsideration.

                                    BACKGROUND

        The admissibility of general causation evidence was originally addressed in a

  ruling issued on April 27, 2020, based on briefing and a scientific record that had

  been completed in 2019. See In re Johnson & Johnson Talcum Powder Prods.

  Mktg., Sales Pracs. & Prods. Litig., 509 F. Supp. 3d 116 (D.N.J. 2020). Invoking

  the word “weight” no fewer than 55 times, the Daubert decision largely denied

  defendants’ motions, finding that the reliability of plaintiffs’ experts’ opinions (and,

  in particular, their application of the “Bradford Hill” methodology) should be

  decided by jurors on cross-examination. See, e.g., id. at 148; id. at 167 (“Defendants
Case 3:16-md-02738-MAS-RLS       Document 32026       Filed 04/22/24   Page 7 of 20 PageID:
                                       181121



  may cross-examine the experts on questions of interpretation.”).1 Nonetheless, the

  ruling recognized that “[b]ecause of talc’s alleged carcinogenic properties, studies

  continue to be conducted by the scientific community” and expressly did not

  “foreclose the possibility” of revisiting the arguments raised by the parties in light

  of new data. Id. at 129 n.6 (“[I]f such supplemental reports impact my Daubert

  decisions made in this Opinion, I may amend my rulings at a later time.”).

        Important legal and scientific developments have occurred since the parties

  initially briefed the question of general causation. Most notably, a pooled study (the

  largest ever performed on the issue), led by a scientist at the National Institutes of

  Health, found “no statistically significant association between . . . use of [talcum]

  powder in the genital area and risk of ovarian cancer.”2 In addition, one of the PSC’s




  1
         See also, e.g., In re Johnson & Johnson, 509 F. Supp. 3d at 149 (“weaknesses
  in Dr. Longo’s methods, such as” his use of a testing methodology that does not
  distinguish asbestos particles or asbestiform from cleavage fragments “go to weight
  rather than to admissibility”); id. at 163 (“Defendants’ argument with respect to
  whether the association is ‘weak’ or ‘strong’ is one that goes to the weight of the
  experts’ testimony, not the reliability.”); id. at 166-67 (experts’ elevating case-
  control studies over better quality cohort studies “go[es] to the weight of the experts’
  testimony”); id. at 172 (experts’ disregard of inconsistencies between cohort and
  case-control studies in finding consistency factor satisfied “relate[s] to the weight of
  their testimony”); id. at 175 (the “jury will determine what weight to ascribe to this
  scientific hypothesis” that talc causes ovarian cancer by inflammation).
  2
        O’Brien et al., Association of Powder Use in the Genital Area with Risk of
  Ovarian Cancer, 323(1) JAMA 49, 56 (2020) (“O’Brien 2020”) (attached to Cert.
  of Susan Sharko (“Sharko Cert.”) as Ex. 1). This study was published in January
  2020, prior to the issuance of the original Rule 702 opinion, but was not addressed
                                            2
Case 3:16-md-02738-MAS-RLS       Document 32026       Filed 04/22/24   Page 8 of 20 PageID:
                                       181122



  key epidemiologists, Dr. Anne McTiernan, was excluded by another federal court

  for her use of “result-driven reasoning,” In re Zantac (Ranitidine) Prods. Liab. Litig.,

  644 F. Supp. 3d 1075, 1242 (S.D. Fla. 2022), based on a methodology that she

  recently admitted was the same one she employed in this litigation. And most

  recently, on December 1, 2023, three major changes to Rule 702 took effect that: (1)

  codify the preponderance-of-the-evidence standard into the black letter of Rule 702;

  (2) specify that “the court”—not a jury—must decide that all four of the substantive

  criteria for expert admissibility have been met; and (3) clarify that a court’s

  gatekeeping obligation requires it to ensure that all expert testimony satisfies Rule

  702’s four requirements, especially that the expert’s “principles and methods” are

  reliably applied to the case-specific facts. See Fed. R. Evid. 702. The impetus for

  these changes was the consensus that “in a fair number of cases, the courts . . .

  essentially treat[] these questions as ones of weight rather than admissibility.” See

  Report of the Advisory Committee on Evidence Rules, at 6 (May 15, 2022).

        Beyond these legal and scientific developments, plaintiffs have designated

  two new epidemiologists who were never previously disclosed in this MDL

  proceeding: Dr. Michele Cote and Dr. Bernard Harlow.3 (See Expert Rep. of



  in the parties’ previous expert briefing, which was generally complete by June 2019.
  (See generally, e.g., ECF Nos. 10029-10043.)
  3
        A third epidemiologist, Dr. Kenneth Rothman, was also newly disclosed, but
  has now been withdrawn.
                                             3
Case 3:16-md-02738-MAS-RLS      Document 32026      Filed 04/22/24   Page 9 of 20 PageID:
                                      181123



  Michele L. Cote, Nov. 15, 2023; Expert Rep. of Bernard L. Harlow and Kenneth J.

  Rothman, Nov. 15, 2023.) In addition, several of plaintiffs’ original epidemiologists

  have served new reports that greatly expand their initial opinions regarding Bradford

  Hill, statistical significance and other scientific concepts. Plaintiffs’ “asbestos”

  expert—Dr. William Longo—now purports to perform asbestos exposure analyses

  for the bellwether plaintiffs and offers a Polarized Light Microscopy analysis of J&J

  talc samples using a method developed by the Colorado School of Mines “in the

  early 1970s” that had not been previously disclosed to defendants.4 Both the new

  and previously disclosed experts all purport to address recent literature published

  after the prior briefing on general causation, including, but not limited to, the

  O’Brien 2020 study previously discussed.

        While the Court denied defendants’ motion to strike these new opinions, it

  reasoned that defendants “could dispute the experts and expert opinions proffered

  by Plaintiffs through their 2023 Expert Disclosures in future Daubert and/or

  summary judgment motions.” (ECF No. 29023, at 10.) On March 27, the Court

  issued a Text Order, explaining that it “is persuaded that the recent changes to



  4
         Beyond the experts identified in text, the PSC also disclosed a new marketing
  expert, Dr. George Newman, with supposed expertise in “branding and consumer
  behavior.” (Expert Rep. of George E. Newman at 3, Nov. 15, 2023.) In addition,
  the PSC served a significantly expanded report from Dr. David Kessler, plaintiffs’
  “regulatory” expert. Neither witness’s opinions were addressed in the prior Daubert
  ruling, nor were any opinions regarding specific causation.
                                           4
Case 3:16-md-02738-MAS-RLS        Document 32026      Filed 04/22/24   Page 10 of 20
                                  PageID: 181124



Federal Rule of Evidence 702, the emergence of new relevant science, and the

language of Chief Judge Wolfson’s previous Daubert Opinion make a full refiling

of Daubert motions appropriate.” (ECF No. 30260.)

                                   ARGUMENT

      As this Court has repeatedly recognized, “[r]econsideration under Local Civil

Rule 7.1 is ‘an extraordinary remedy’ that is rarely granted.” Def. Distributed v.

Platkin, No. 21-9867 (MAS) (TJB), 2023 U.S. Dist. LEXIS 103651, at *4 (D.N.J.

June 14, 2023) (Shipp, J.) (citation omitted); see also Jannarone v. Sunpower Corp.,

No. 18-9612 (MAS) (TJB), 2020 U.S. Dist. LEXIS 76380, at *4, *10 (D.N.J. Apr.

30, 2020) (Shipp, J.) (same). “To succeed on a motion for reconsideration, a movant

must show at least one of three factors: ‘(1) an intervening change in the controlling

law; (2) the availability of new evidence that was not available when the court

granted [or denied] the motion [at issue]; or (3) the need to correct a clear error of

law or fact or to prevent manifest injustice.’” Def. Distributed, 2023 U.S. Dist.

LEXIS 103651, at *4 (quoting Max’s Seafood Café ex rel. Lou-Ann, Inc. v.

Quinteros, 176 F.3d 669, 677 (3d Cir. 1999)).

      The PSC argues that reconsideration of the Court’s recent Text Order

authorizing plenary Daubert briefing is warranted under the third prong both

because it “is in clear error” and because it “[w]ould [b]e [m]anifestly [u]njust” for

the parties to “re-litigat[e] Daubert.” (Pls.’ Mem. at 1, 7.) As explained below, the


                                          5
Case 3:16-md-02738-MAS-RLS        Document 32026      Filed 04/22/24   Page 11 of 20
                                  PageID: 181125



PSC does not come close to satisfying the stringent requirements of “clear error” or

“manifest injustice” for reconsidering the Court’s order.

I.    THE PSC HAS NOT ESTABLISHED ANY CLEAR ERROR OF LAW
      OR FACT CAPABLE OF JUSTIFYING RECONSIDERATION.

      “A court commits clear error of law only if the record cannot support the

findings that led to the ruling.” Jannarone, 2020 U.S. Dist. LEXIS 76380, at *4-5

(citation omitted). Moreover, reconsideration is only proper “when ‘dispositive

factual matters or controlling decisions of law’ were presented to the court but were

overlooked.’” Def. Distributed, 2023 U.S. Dist. LEXIS 103651, at *4 (citations

omitted) (emphasis added); see also Jannarone, 2020 U.S. Dist. LEXIS 76380, at

*10 (“Because the Court’s decision is supported by precedent, [d]efendant fails to

show that the Court’s decision was a clear error of law.”).

      The PSC does not even attempt to identify any “dispositive factual matters or

controlling decisions of law” that the Court overlooked. Instead, the gist of the

PSC’s position is that the original Daubert ruling “is the law of the case.” (Pls.’

Mem. at 1, 9.)     This position, not the Court’s ruling, misinterprets the law.

“Interlocutory orders . . . remain open to trial court reconsideration, and do not

constitute the law of the case.” United States ex rel. Petratos v. Genentech Inc., 855

F.3d 481, 493 (3d Cir. 2017) (citation omitted); see also Rimbert v. Eli Lilly & Co.,

647 F.3d 1247, 1251 (10th Cir. 2011) (declining to apply law of the case to Daubert

rulings) (cited with approval by Third Circuit in Petratos, 855 F.3d. at 493).
                                          6
Case 3:16-md-02738-MAS-RLS        Document 32026     Filed 04/22/24   Page 12 of 20
                                  PageID: 181126



      But even assuming law of the case did apply, the PSC’s own authority

recognizes that the “doctrine does not limit the power of trial judges to reconsider

their prior decisions” as long as they “explain on the record why [they are] doing

so.” (Pls.’ Mem. at 6, 10 (emphasis added) (quoting Pub. Int. Rsch. Grp. of N.J.,

Inc. v. Magnesium Elektron, Inc., 123 F.3d 111, 117 (3d Cir. 1997) (expressly

approving of lower court’s decision to “reconsider” question of standing based on

“new evidence”)).) That is exactly what this Court did, explaining “that the recent

changes to Federal Rule of Evidence 702, the emergence of new relevant science,

and the language of Chief Judge Wolfson’s previous Daubert Opinion make a full

refiling of Daubert motions appropriate.” (ECF No. 30260.) While the PSC has a

different view, “mere disagreement with this Court’s decision provides no valid

basis for reconsideration.” Cvjeticanin v. United States, No. 19-549 (MAS), 2022

U.S. Dist. LEXIS 157717, at *1-2, *4 (D.N.J. Aug. 30, 2022) (Shipp, J.) (denying

motion for reconsideration). For all of these reasons, discussed further below, the

PSC has not demonstrated that the ruling was in “clear error.”

      A.    The Recent Amendments To Rule 702 Support The Court’s
            Decision.

      Quoting statements from the Advisory Committee notes on Rule 702, the PSC

argues that Rule 702 was merely amended “to clarify and emphasize that . . . the

proponent” of expert testimony must prove its admissibility by a preponderance-of-

the-evidence, which the PSC claims has long been “an undeniable part of Rule 702.”
                                         7
Case 3:16-md-02738-MAS-RLS          Document 32026      Filed 04/22/24    Page 13 of 20
                                    PageID: 181127



(Pls.’ Mem. at 7 (quoting Fed. R. Evid. 702 advisory committee’s note to 2023

amendment).)      The PSC also insists that the Rule 702 ruling “applied a

preponderance standard” (id. at 11), but the phrase “preponderance of the evidence,”

appears just three times in the ruling, each time as part of a case parenthetical.5 And

plaintiffs’ proffered opinions on biological plausibility (i.e., that talc causes ovarian

cancer by inflammation) were deemed admissible because “Defendants ha[d] not

introduced any evidence that this theory has been disproven as a matter of science,”

In re Johnson & Johnson, 509 F. Supp. 3d at 175, reflecting a “revers[al] [of] the

burden of proof” that is precisely the opposite of what Rule 702 demands. See In re

Onglyza (Saxagliptin) & Kombiglyze (Saxagliptin & Metformin) Prods. Liab. Litig.,

93 F.4th 339, 345 (6th Cir. 2024) (excluding opinion that the literature “should be

interpreted as cause-and-effect unless there is compelling evidence to prove

otherwise”) (citation omitted).

      In any event, the PSC ignores the other key aspects of the recent

amendments—namely, that the “court” (rather than a jury) must decide that all four

of the substantive criteria for admissibility are satisfied, including that the “expert’s

opinion reflects a reliable application of the principles and methods to the facts of



5
      See In re Johnson & Johnson, 509 F. Supp. 3d at 148 (quoting Crowley v.
Chait, 322 F. Supp. 2d 530, 537 (D.N.J. 2004)); id. at 187 (quoting In re Processed
Egg Prods. Antitrust Litig., 81 F. Supp. 3d 412, 416 (E.D. Pa. 2015)); id. at 164 n.37
(quoting Pick v. Am. Med. Sys., Inc., 958 F. Supp. 1151, 1160 (E.D. La. 1997)).
                                           8
Case 3:16-md-02738-MAS-RLS        Document 32026      Filed 04/22/24   Page 14 of 20
                                  PageID: 181128



the case.” Fed. R. Evid. 702(d). As multiple courts construing these changes both

before and after they took effect have explained, “Rule 702’s recent amendments

were drafted to correct some court decisions incorrectly holding ‘that the critical

questions of the sufficiency of an expert’s basis, and the application of the expert’s

methodology, are questions of weight and not admissibility.’” In re Onglyza, 93

F.4th at 348 n.7 (quoting Fed. R. Evid. 702 advisory committee’s note to 2023

amendment); accord In re Paraquat Prods. Liab. Litig., MDL No. 3004, 2024 WL

1659687, at *4 n.9 (S.D. Ill. Apr. 17, 2024) (“The Advisory Committee thus appears

to have found that courts had erroneously admitted unreliable expert testimony based

on the assumption that the jury would properly judge reliability by assigning

appropriate weight to an expert’s opinion.”).6

      Defendants respectfully submit that the prior judge’s Daubert ruling was one



6
       See also, e.g., Sardis v. Overhead Door Corp., 10 F.4th 268, 279, 284 (4th
Cir. 2021) (treating fundamental reliability challenges as “generally questions of
weight and not admissibility” is erroneous and constitutes an “abdicat[ion] [of a
court’s] critical gatekeeping role to the jury”) (quoting Advisory Comm. on
Evidence Rules, Agenda for Committee Meeting 105, 107 (Apr. 30, 2021)); James
v. Thompson/Ctr. Arms, Inc., No. 3:22-cv-01781-JGC, 2024 U.S. Dist. LEXIS
55675, at *6 (N.D. Ohio Mar. 28, 2024) (“This is not merely a question of weight,
to be decided by a jury. The expert’s proponent bears the burden of demonstrating
to me, by a preponderance of the evidence, ‘the sufficiency of an expert’s basis[] and
the application of the expert’s methodology.’”) (quoting Fed. R. Evid. 702 advisory
committee’s note to 2023 amendment); In re Acetaminophen - ASD-ADHD Prods.
Liab. Litig., MDL No. 3043, 2023 U.S. Dist. LEXIS 224899, at *49-50 & n.27, ---
F. Supp. 3d ---- (S.D.N.Y. Dec. 18, 2023) (“[O]ne purpose of the amendment was to
emphasize that ‘[j]udicial gatekeeping is essential . . . .’”) (citation omitted).
                                          9
Case 3:16-md-02738-MAS-RLS         Document 32026      Filed 04/22/24    Page 15 of 20
                                   PageID: 181129



of those incorrect holdings. For example, the decision states that “it is not for the

Court to decide” whether plaintiffs’ experts properly applied the Bradford Hill

considerations such as strength, because doing so “would unnecessarily broaden the

scope of this Court’s role as a gatekeeper.” In re Johnson & Johnson, 509 F. Supp.

3d at 164; see also id at 171-72 (defendants’ criticisms of plaintiffs’ experts’

approach to consistency factor of Bradford Hill reflected “a battle of the experts”

and “relate[s] to the weight of their testimony”); id. at 175 (“jury will determine what

weight to ascribe to th[e] scientific hypothesis” that talc causes ovarian cancer by

inflammation). Courts applying the recently amended Rule 702 have recognized

that this is not a proper approach because simply espousing a methodology (i.e.,

Bradford Hill) does not suffice to withstand a Rule 702/Daubert challenge. Rather,

“district courts must ensure that ‘[t]he specific way an expert conducts such an

analysis [is] reliable.’” In re Acetaminophen, 2023 U.S. Dist. LEXIS 224899, at *56

(emphasis added) (citation omitted) (excluding experts who engaged in similarly

unreliable Bradford Hill causation analyses). Accordingly, the caselaw addressing

amended Rule 702 makes clear that the kinds of reliability challenges raised by

defendants with respect to plaintiffs’ general causation experts are admissibility

questions for the Court rather than issues of weight to be sorted out by jurors after

cross-examination.




                                          10
Case 3:16-md-02738-MAS-RLS         Document 32026      Filed 04/22/24   Page 16 of 20
                                   PageID: 181130



      B.     New Scientific Evidence Independently Supports The Court’s
             Decision.

      Finally, scientific advances since 2020 also support the Court’s decision to

have plenary Daubert briefing. See, e.g., In re Viagra Prods. Liab. Litig., 658 F.

Supp. 2d 936, 941-42, 946 (D. Minn. 2009) (vacating prior Daubert ruling after “a

number of errors in the McGwin Study” relied upon by a general causation expert

were discovered); Bean-Sasser v. Sec’y of Health & Hum. Servs., 127 Fed. Cl. 161,

167 (2016) (“As medicine and science continue to advance, so does our

understanding about the causes of diseases . . . . When the evidence presented differs

[from a prior case], a different result is also plausible.”). Even the ruling the PSC

claims is law of the case expressly acknowledges that “[b]ecause of talc’s alleged

carcinogenic properties, studies continue to be conducted by the scientific

community” and that the Court “may amend [its] rulings at a later time” based upon

new data. In re Johnson & Johnson, 509 F. Supp. 3d at 129 n.6.

      Over the last several years, additional scientific evidence published by

preeminent epidemiologists, including from the National Cancer Institute and the

National Institute of Environmental Health Sciences, has further undermined the

reliability of plaintiffs’ evidence of general causation. Most notably, a recent pooled

cohort epidemiological study—the largest epidemiological study ever performed on

the issue—found “no statistically significant association between . . . use of [talcum]

powder in the genital area and risk of ovarian cancer” in general or for any specific
                                          11
Case 3:16-md-02738-MAS-RLS        Document 32026      Filed 04/22/24   Page 17 of 20
                                  PageID: 181131



histological subtype.7 And a review paper by top government scientists analyzed all

the evidence to date and found that “[g]iven the inability to attribute a clear causal

factor to the observed associations, the lack of a good experimental model, the lack

of a specific biomarker for powder-related carcinogenesis, and the inability to rule

out confounding by indication, it is difficult to conclude that the observed

associations are causal.”8

      The PSC ignores the latter paper and focuses on one weak finding for one

subgroup in the pooled cohort study:       women with patent reproductive tracts

(HR=1.13, 95% CI 1.01-1.26). The study’s authors warned against exactly this

interpretation of their data, explaining that the subgroup estimates were prone to

false positives and “should be interpreted as exploratory” at best.9 An editorial

accompanying the article was even more explicit that these subgroup findings

“should not be selectively highlighted by the statistically unsophisticated reader as

evidence of a relationship” between talc and cancer.10


7
      O’Brien 2020 at 56.
8
       Wentzensen & O’Brien, Talc, body powder, and ovarian cancer: A summary
of the epidemiologic evidence, 163(1) Gynecol. Oncol. 199, 207 (2021) (emphasis
added) (Sharko Cert. Ex. 2); see also id. (“Furthermore, given the widespread use of
powders and the rarity of ovarian cancer, the case for public health relevance is
limited.”).
9
      O’Brien 2020 at 52.
10
       Gossett & del Carmen, Use of powder in the genital area & Ovarian Cancer
Risk, 323(1) JAMA 29, 30 (2020) (Sharko Cert. Ex. 3).
                                         12
Case 3:16-md-02738-MAS-RLS         Document 32026      Filed 04/22/24   Page 18 of 20
                                   PageID: 181132



      In any event, the question at this point is not whether the PSC or plaintiffs’

experts might ultimately offer a reliable explanation that accounts for the 2020 data.

Instead, it is whether the Court should exercise its own judgment based on complete

briefing and discovery. The new findings from the largest epidemiological study to

date clearly demonstrate that it should. Accordingly, intervening scientific data

independently support the Court’s decision to permit new Daubert briefing on the

question of general causation.

II.   PROCEEDING WITH NEW DAUBERT BRIEFING WOULD NOT
      RESULT IN MANIFEST INJUSTICE.

      The PSC separately argues that it would be “manifestly unjust to require the

parties to once again expend substantial time and resources fully re-litigating

Daubert.” (Pls.’ Mem. at 7.) Defendants respectfully submit that the opposite is

true. In order to “establish manifest injustice, a moving party . . . must show that

the . . . Court committed a ‘direct, obvious, [or] observable error’ and one that is of

at least some importance to the larger proceedings.’” Trs. of B.A.C. Loc. 4 Pension

Fund v. Demza Masonry, LLC, No. 18-17302 (MAS), 2021 U.S. Dist. LEXIS

148298, at *5 (D.N.J. Aug. 6, 2021) (Shipp, J.) (quoting In re Energy Future

Holdings Corp., 904 F.3d 298, 312 (3d Cir. 2018)); see also Shnewer v. United

States, No. 13-3769 (RBK), 2016 U.S. Dist. LEXIS 109830, at *20-21 (D.N.J. Aug.

18, 2016) (“[R]econsideration based on manifest injustice requires that the error be

apparent to the point of being indisputable.”). As previously discussed, the PSC has
                                          13
Case 3:16-md-02738-MAS-RLS          Document 32026     Filed 04/22/24    Page 19 of 20
                                    PageID: 181133



not established any error in the Court’s decision, foreclosing this basis for

reconsideration.

      The PSC’s claim of manifest injustice is particularly meritless given its

strategic choice to both serve significantly expanded reports from plaintiffs’ general

causation experts and designate certain new experts altogether—all of whom purport

to address the new scientific data that the PSC seeks to dismiss as irrelevant.

Defendants have a fundamental right to challenge these new opinions and the

experts’ treatment of the new scientific data discussed in their reports. See In re

Acetaminophen, 2023 U.S. Dist. LEXIS 224899, at *55-56 (“[E]ach application [of

Bradford Hill] is distinct and should be analyzed for reliability.”) (citation omitted).

In short, the Court’s decision to permit the refiling of Daubert briefs would prevent

manifest injustice, not cause it.

                                    CONCLUSION

      For the foregoing reasons, the Court should deny the PSC’s motion for

reconsideration.



Dated: April 22, 2024                                 Respectfully submitted,



                                                      ______________
                                                      Susan M. Sharko
                                                      FAEGRE DRINKER
                                                      BIDDLE & REATH LLP
                                          14
Case 3:16-md-02738-MAS-RLS   Document 32026    Filed 04/22/24   Page 20 of 20
                             PageID: 181134



                                              600 Campus Drive
                                              Florham Park, NJ 07932
                                              Tel: (973) 549-7000
                                              Susan.sharko@faegredrinker.com


                                              Allison M. Brown
                                              Jessica Davidson
                                              SKADDEN, ARPS, SLATE,
                                              MEAGHER & FLOM LLP
                                              One Manhattan West
                                              New York, NY 10001
                                              Tel.: (212) 735-3000
                                              Allison.brown@skadden.com
                                              Jessica.davidson@skadden.com

                                              Attorneys for Defendants
                                              Johnson & Johnson and LLT
                                              Management, LLC




                                  15
